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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5028                                                 September Term, 2024
                                                                        1:25-cv-00385-ABJ
                                                        Filed On: February 13, 2025
Hampton Dellinger, in his personal capacity
and in his official capacity as Special Counsel
of the Office of Special Counsel,

              Appellee

       v.

Scott Bessent, in his official capacity as
Secretary of the Treasury, et al.,

              Appellants


       BEFORE:       Katsas, Childs, and Pan, Circuit Judges

                                         ORDER

       Upon consideration of the emergency motion for stay, it is

      ORDERED that appellee file a response to the emergency motion by 6:00 p.m.
on February 13, 2025.


                                        Per Curiam


                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Selena R. Gancasz
                                                          Deputy Clerk
